Case 4:08-mj-00818 Document1  Filed’on 12/03/08 in TXSD Page 1of4
AO 91 (Rev. 5/85) Criminal Comptaint

United States District Court

EASTERN _ DISTRICT OF LOUISIANA
UNITED STATES OF AMERICA
v. CRIMINAL COMPLAINT
DAT VIET TIEU a/k/a “Andy” CASE NUMBER: onfase MAG

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|, the undersigned compiainant being duly swom stata the follawing is true and correct to the best of my

knowledge and belief. Between January 1, 2006 and May 17,2006 in ST. TAMMANY PARISH and elsewhere

EASTERN District of LOUISIANA andelsewhere defendant(s),

(Track Statutory | argutge of Crfense)

did conspire with other persons known and unknown to distribute and possess with intent to distribute a
quantity of 3, 4-methylenedioxymetbamphetamine (“MDMA” also known as ecstacy), all

in violation of Title _21 United States Code, Sections _ 846 and 841(a)(1) and (by(1C)

| further state that | am a Special Agent, Drug Enforcement Administration and that this complaint is based an the
following facts: Ofical Tithe

SEE ATTACHED AFFIDAVIT.

Continued on the attached sheet and made a part hereof: _X Yas No

ture of Complainant
CHAD SCOTT .
Speciat Agent
Drug Enforcement Administration

Sworn to before me and subscribed in my presence,

December 1, 2008 at NEW ORLEANS, LOUISIANA
Date City and State

LOUIS MOORE, JR.

UNITED STATES MAGISTRATE JUDGE
Name & Title of Judicial Officer

Signature of Judicial Officer

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Case 4:08-mj-00818 Document1 Filed on 12/03/08 in TXSD Page 2 of 4

AFFIDAVIT

I, Chad Scott, being duly swom, depose and state the following:

| am a Special Agent with the Drug Enforcement Administration, U.S. _
Department of Justice, and as such am empowered by Title 21, United States Code,
Section 878 to make arrest and obtain and execute search warrants. [ am currently
assigned to Task Force Group 10 in the New Orleans Field Division. [ have been
employed by the Drug Enforcement Administration (DEA) in excess of five years.
During the course of my employment with DEA, } have participated in several drug
trafficking investigations, and have received extensive training in drug trafficking and
drug trafficking investigations. Prior to my employment with the DEA, I was employed
as a criminal investigator for the Tangipahoa Parish Sheriff's department assigned to
narcotics for approximately eight years. While employed by the Tangipahoa Parish —
Sheriff's Department, I was assigned to the DEA Task Force in New Orleans, Louisiana
for approximately four years. I have testified in judicial proceedings and prosecutions for
violations of Federal and State laws concerning contolled substances. ¥ makc this
affidavit based on my own personal observations concerning this investigation, upon the
observations of other agents and swom law enforcement officers, and the statements of
the accused.

The facts outlined below offered in support of this complaint are based upon the
personal knowledge of your affiant and information relayed to me by othcr investigating
agents of the DEA Task Force.

On or about May 17, 2006, DEA in Houston jnitiated surveillance on a vehicle
associated with a Houston Source of supply of narcotics. Surveillance followed the
vehicle from Houston, Texas to Louisiana. While traveling on Interstate 10 near Laplace,
Louisiana, the vehicle in question was stopped for a taffic violation. The driver of the
vehicle was identified as Everett PAYNE of New Orleans, Louisiana. The vehicle
registered to Paul AGUIRRE and Power Toy Cycles from Houston, Texas. The
occupants of the vehicle were identified as Marlo THOMAS and Jaseph DEGREAT of
New Orleans, Louisiana. A criminal history check revealed al] three occupants had a
criminal history for prior narcotics trafficking.

Surveillance was maintained following the traffic stop, and the vehicle was
followed to the residence Jocated at 2050 Heather Lane, Slidell, Louisiana. When the
yehicle driven by PAYNE (a Ford F-250) arrived at the residence another vehicle (a flat
bed truck with Texas plates) driven by Willie WHITE arnved and met with the occupants
of the vehicle driven by PAYNE. THOMAS, PAYNE, DEGREAT and WHITE met near
the flat bed truck. PAYNE, THOMAS and SMITH unloaded bags from an arca under the
flat bed truck. After a brief meeting, PAYNE and DEGREAT carried large duffle bags
into the residence. After several minutes, WHITE exited the residence carrying a duffle
bag to the flat bed truck. WHITE loaded the bag onto the rear portion of the vehicle.

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Case 4:08-mj-00818 Document1 Filed on 12/03/08 in TXSD Page 3o0f4

WHITE then left the residence. in his truck followed by surveillance and was
stopped by the St. Tammany Parish Sheriff's Department, patrol division. WHITE was
eventually stopped for a traffic violation. A search of his vehicle yielded a box which
contained a large sum of U.S. Currency, which was heat sealed in a manner consistent
with bulk currency smuggling. WHITE denied ownership of the currency and advised
that he did know the currency was secreted inside rcar tool box / compartment area of the
vchicle.

All vehicles at the residence left in a close time proximity and were subsequently
stopped by the St. Tammany Pansh Sheriff's Department, patrol division. DEGREAT,
THOMAS, and PAYNE were stopped in the F-250 as it left the residence. At the time of
the stop, S/A Scott observed the strong odor of suspected burnt marijuana coming from
within the vehicle. All three occupants were found to be in passession of large sums of
U.S. Currency on their persons.

Following the stop of these vehicles, TFA Martin observed Andrew WILLIAMS
exit the residence on Heather Lane and began Jooking up and down the street 10 a manner
consistent with counter surveillance. At this time the decision was made to secure the
residence, due to the possibility that Agents were identified and evidence of criminal
activity could be removed from the residence or destroyed. Agents then made entry into
the residence for securing purposes and identified the occupants as Andrew WILLIAMS
and Nakosha SMITH located in the master bedroom of the residence.

A subsequent scarch of the residence revealed two duffle bags that contained a
total of approximately fifty kilogram of powder cocaine contained in heat sealed
envelopes. Agents located inside one of the duffle bags, a loaded Smith and Wesson
9mm semi-automatic handgun with the serial number obliterated. Agents also recovered
from the bedroom closet: a digital scale, approximately 4074 dosage units of MDMA
(ecstacy), and U.S. Currency. In the same bedroom, Agents located a money counting
machine, a Glock 40 caliber semi-automatic handgun, marijuana, and an empty box of
heat sealed bags and additional quantities of U.S. Currency located throughout the
bedroom. In the kitchen area of the residence, Agents located a heat sealer and
approximately three pounds of manyuana located in the freezer.

The investigation continued and eventually identified the cocaine sources of
supply as Paul AQUIRRE and Carlos ROBLES.

Three separate cooperating defendants identified Dat Viet TIEU, AKA “Andy”,
as the source of supply for the MDMA seized from Andrew WILLIAMS’ residence in
Slidell, Louisiana on or about May 17, 2006. In June 2007, Houston DEA Special Agent
Daniel Comeaux, acting in an undercover capacity, was introduced to TIEU by one of the
cooptrating defendants. As a result of this introduction, S/A Comeaux and the
cooperating defendant conducted an undercover purchase of MDMA from TYEU on June
27, 2007 in Houston, Texas. This purchase corroborated the information provided by the
cooperating defendant regarding TIEU as the source of supply for the MDMAA seized in
Slidell, Louisiana. So

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Case 4:08-mj-00818 Document1 Filed on 12/03/08 in TXSD Page 4 of 4

The 4074 tablets of ecstacy seized from the residence in Slideli, Louisiana, has
been tested by the DEA South Central Lab and tested positive for the presence of

MDMA.

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S/A Chad Scott
DEA New Orleans, Louisiana

“Subscribed to and swom before me on December |, 2008, at New Orleans, Louisiana.

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